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                         IN THE UNITED STATES DISTRICT C
                           FOR THE DISTRICT OF CONNECTICUT

 THE UNITED STATES OF AMERICA
 ex rei. MICHAEL COWAN,

        Plaintiff,
                                                       CASE NO. I    t.j CII /55 I.J f-1 p S
 v.                                                            fir Sc/1 LED J!r

 JHW GREENTREE CAPITAL L.P, J.H.       FILED IN CAMERA AND UNDER SEAL
 WHITNEY & CO., PETER M. CASTLEMAN,     PURSUANT TO 31 U.S.C. §3730(b)(2).
 MICHAEL R. STONE, DANIEL J. O'BRIEN,
 STEVEN LOGAN, GARMARK PARTNERS II        DO NOT PLACE IN PRESSBOX
 L.P., E. GARRETT BEWKES III, WESTWIND   DO NOT ENTER ON COMPUTER
 INVESTORS L.P., PRAIRIE FIRE CAPITAL              DOCKET
 LLC, PTOLEMY LLC, THE CASTLEMAN
 FAMILY FOUNDATION, and THE MICHAEL
 AND KAREN STONE FAMILY FOUNDATION,

        Defendants.

                           PLAINTIFF'S ORIGINAL COMPLAINT
                                 [FILED UNDER SEAL]


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                 PLAINTIFFS' ORIGINAL COMPLAINT [UNDER SEAL]

       Relator Michael Cowan ("Relator") files this original complaint under 31 U.S.C. § 3729,

et seq. (the "False Claims Act" or "FCA"), to recover damages, penalties, and other remedies

established by the False Claims Act on behalf of the United States.

I.     INTRODUCTION

       This is a case about fraud, deception, and self-dealing by wealthy investors who abused

their control of a federally subsidized small-business investment company to enrich themselves

at the expense of the taxpayer. The focus of the unlawful scheme was a troubled private equity

firm named JHW Greentree Capital L.P. ("Greentree"), which obtained over $98 million in

federal funds under the Small Business Administration ("SBA")'s Small Business Investment

Company ("SBIC") program before it was driven into financial collapse and receivership in 2012

as a result of improper self-dealing transactions by its principals. Using a series of improper

transactions and fraudulent and misleading statements, Defendants first steered Greentree's

resources into failing companies in which they had personally invested. Next, they stripped

Greentree of its few well-performing investments and sold them to their own profit for a gain of

nearly $100 million, leaving Greentree with an assortment of worthless holdings and the SBA

with a Joss of over $93 million- one of the largest losses in the history of the SBIC program.

       Peter Castleman and Michael Stone, two of Greentree's controlling principals, also had

substantial personal investments in other, private funds they controlled that had "co-invested" in

several of the same businesses in which Greentree had invested its SBA funds, and the resulting

conflicts of interest led Castleman, Stone, and their co-conspirators to make a series of




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investment decisions that favored their own personal financial interests at the expense of

Greentree's and the SBA's interests. After the majority of Greentree's small-business holdings

began to founder during the 2008-2009 economic downturn, Defendants steered Greentree's

resources toward several troubled companies in which their private funds were heavily invested.

In so doing, they repeatedly violated applicable statutes and regulations by failing to disclose the

insider nature of their transactions and by falsely certifying their compliance with SBA

regulations.

       At the same time, Defendants conspired to strip Greentree of its few successful holdings

and investment opportunities. Of the fourteen businesses in Greentree's investment portfolio, the

only one to successfully weather the 2008-2009 economic downturn was Satellite Tracking of

People, LLC ("STOP"), a provider of GPS tracking equipment for ankle bracelets used by

parolees, probationers, registered sex offenders, and other persons under law enforcement or

correctional supervision. STOP's prospects and revenues continued to rise year over year as it

expanded its business by winning major government contracts. However, as long as STOP

remained within the Greentree SBIC, the SBA was entitled under federal regulations and

Greentree's partnership agreement to first priority in any distribution of its profits. In order to

profit from STOP's business success, Castleman and his associates needed to take control of

STOP away from Greentree and transfer its equity to their separate private funds, where they

could avoid sharing its profits with the SBA. To that end, Castleman repeatedly sabotaged

STOP's efforts to obtain needed financing from outside investors.         In March 2010, having

blocked other sources of funding, Castleman's consortium of insiders took majority control of

STOP's board of directors, refinanced insider-held debt at substantially higher cost, and diluted



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Greentree's interest in STOP by investing unnecessary new equity capital at a substantially

below-market price, to the detriment of Greentree's investment.             Greentree, which was

effectively controlled by Castleman and Stone, did not protest this clearly unfavorable treatment.

Nevertheless, the transaction violated SBA regulations in several respects, and Greentree should

have disclosed the insider relationships to the SBA and sought its advance permission. Relator

Michael Cowan, who worked for Castleman as one of Greentree's managers and handled

Greentree's relationship with the SBA, repeatedly warned Greentree's principals that the

transaction likely violated SBA regulations and that they needed to seek the SBA's approval. In

response to one such warning, Greentree's Managing Member and Principal, Daniel O'Brien,

said in an April 8, 2010 e-mail:

       "I know in the minds of the SBA ~rules are rules' but it seems crazy to just give away
       economics other co-investors are enjoying."

Willfully disregarding Relator Cowan's advice, Defendants went ahead with their insider

transaction and took control of STOP, concealing from the SBA key facts which, if the SBA had

known them, would likely have led the SBA to disapprove the deal. These false statements and

material omissions violated both SBA regulations and the False Claims Act.

       By 2012, Defendants' self-dealing and mismanagement had driven Greentree to financial

collapse, with some of its portfolio holdings in bankruptcy and most of the others - except for

STOP - worth substantially less than what Greentree had paid for them. The SBA brought a

civil action in this Court to put Greentree into receivership, and a court-appointed SBA Receiver

took over Greentree's operations in order to marshal and sell off its assets in an effort to recover

some fraction of the $93 million Greentree still owed the government.




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        Greentree's financial collapse gave Defendants the opportunity to complete their

acquisition of STOP, the only profitable company in its portfolio. Defendants manipulated and

abused the receivership process to acquire Greentree's remaining interest in STOP for $3.25

million, a small fraction of its market value. On information and belief, Defendants did this by

concocting a skewed appraisal report stating an unrealistically low valuation, and by convincing

the SBA's Receiver not to undertake a due diligence process that might identify other potential

buyers willing to pay a higher price. After successfully acquiring STOP from the Receiver at a

bargain-basement price, Defendants turned around and re-sold STOP on the market one year

later for a price that was eighteen times what they had paid the SBA for it. Defendants profited

as much as $95 to $100 million from this transaction. If Greentree had held onto its interest in

STOP and then participated in the 2013 market sale, it could have collected as much as $57

million (plus an additional $8 to $9 million if its equity had not been diluted in the March 2010

insider deal), all of which would have been applied to pay down the bulk of Greentree ' s $93

million in outstanding obligations to the SBA. Instead, as a result of Defendants' deception and

self-dealing, taxpayers are left holding the bill for one of the largest failures in the history of the

SBA's small-business investment program.

II.     FILING UNDER SEAL

        1.     In accordance with 31 U.S.C. § 3730(b)(2), this complaint is filed in camera and

under seal and will not be served on the Defendants until the Court so orders.                Also in

accordance with 31 U.S.C. § 3730(b)(2), a copy of this complaint and a confidential written

disclosure of substantially all material evidence and information that Relator currently possesses

have been provided to the United States Attorney General's Office.



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         2.    Plaintiff's Disclosure Statement is supported by the material evidence known to

Relator at the time of this filing establishing the existence of Plaintiff's False Claims Act claims.

Because the statement is submitted to the Attorney General and to the United States in their

capacity as potential co-counsel in the litigation, the Relator understands this disclosure to be

privileged and confidential.

III.     THE PARTIES

         3.    Plaintiff Michael Cowan ("Cowan" or "Relator") is a citizen of the United States

and a resident of the State of Florida.       Mr. Cowan had worked for Defendants Peter M.

Castleman and J.H. Whitney & Co. since 2000. Between 2004 and the beginning of 2010, Mr.

Cowan handled the day-to-day operations of Defendant JHW Greentree Capital, L.P., including

its relationship with the SBA.

         4.    Mr. Cowan is referred to as "Relator" or "Plaintiff." Relator brings this action

based on his direct, independent, and personal knowledge, and also on information and belief.

He brings this action against Defendants for violations of the federal False Claims Act, 31 U.S.C.

§ 3729 et seq., for the United States and for himself, pursuant to the authority granted by 31

u.s.c. § 3730(b).
         5.    Relator is an original source of the information underlying this Complaint and

provided to the United States. He has direct and independent knowledge of the information on

which the allegations are based. Relator is contemporaneously providing to the United States

Attorney General a Confidential Disclosure Statement which presents substantially all material

evidence and information Relator currently possesses, pursuant to 31 U.S.C. § 3730(b)(2).




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         6.       Defendant JHW Greentree Capital LP is a limited partnership organized under the

laws of Delaware, and an SBIC licensed by the SBA pursuant to the federal Small Business

Investment Act, 15 U.S.C. §§ 662 et seq. Prior to February 10, 2012, it maintained its principal

place of business in New Canaan, Connecticut.          After Greentree entered receivership, its

headquarters and records were transferred to SBA offices in Washington, D.C. under the

supervision of a court-appointed receivership. Defendant Greentree may be served with process

through its Receiver, the United States Small Business Administration, Office of General

Counsel, 409 3rd Street S.W., 7th Floor, Washington DC 20416.

         7.       Defendant J.H. Whitney & Co. LLC ("Whitney") is organized under the laws of

Delaware and has its principal place of business at 130 Main Street, New Canaan, Connecticut

86840.        Defendant Whitney may be served through its registered agent, United Corporate

Services, Inc., 874 Walker Road Suite C, Dover, Delaware 19904.

         8.       Defendant Peter M. Castleman ("Castleman") is one of the Principals and

managmg members of Defendant Greentree.            On information and belief, Castleman was a

resident of Connecticut as recently as 2010, and currently resides in Nevada. Castleman was a

Managing Partner of Defendant Whitney up through 2010, and is the founder of Defendant

Westwind Investors, L.P. Defendant Castleman may be served at 917 Tahoe Boulevard, Suite

200, Incline Village, Nevada 89451.

    · 9.          Defendant Michael R. Stone ("Stone") is one of the Principals and managing

members of Defendant Greentree. On information and belief, Stone currently resides in La Jolla,

California. Stone was previously a Managing Partner of Defendant Whitney. Defendant Stone

may be served at 1250 Prospect Street, Suite 200, La Jolla, California 92037.



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       10.    Defendant Daniel J. O'Brien ("O'Brien") is one of the Principals of Defendant

Greentree, and reviewed and signed Greentree's financial reports in his capacity as Managing

Member of Greentree's General Partner, JHW Greentree Capital GP, LLC. On information and

belief, O'Brien currently resides in Connecticut. Defendant O'Brien may be served at 267 Main

Street, Unit A, Ridgefield, Connecticut 06877.

       11.    Defendant Steven Logan is the Chief Executive Officer of Satellite Tracking of

People, LLC, a company which received government-backed investments from Defendant

Greentree and which was subsequently acquired by the other Defendants in the improper

transactions that are at issue in this action.   On information and belief, Defendant Logan

currently resides in Houston, Texas. Defendant Logan may be served at 11105 South Country

Squire Street, Houston, Texas 77024.

       12.    Defendant GarMark Partners II, L.P. ("GarMark") is a limited partnership

organized under the laws of Delaware and has its principal place of business at 1 Landmark

Square, Suite 600, Stamford, Connecticut, 0690 I.     On information and belief, GarMark is

controlled by Defendant E. Garrett Bewkes III, and Defendants Castleman and Stone also have

substantial investments in GarMark.     Defendant GarMark Partners II, L.P. may be served

through its registered agent, Corporation Service Company, 271 Centerville Road, Suite 400,

Wilmington, Delaware 19808.

       13.    Defendant E. Garrett Bewkes III ("Bewkes") is the founder and Managing

Principal of GarMark.    On information and belief, Bewkes currently resides in Connecticut.

Defendant Bewkes may be served at 774 Hollow Tree Ridge Road, Darien, Connecticut, 06820.




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            14.    Defendant Westwind Investors LP ("Westwind") is organized under the laws of

     Delaware and has its principal place of business at 917 Tahoe Boulevard, Incline Village,

     Nevada 89451. On information and belief, Westwind is controlled by its founder, Defendant

     Castleman. Defendant Westwind may be served through its registered agent, United Corporate

     Services, Inc., 874 Walker Road, Suite C, Dover, Delaware 19904.

            15.    Defendant Prairie Fire Capital, LLC is organized under the laws of Delaware and

     has its principal place of business at 917 Tahoe Boulevard, Incline Village, Nevada 89451. On

     information and belief, Prairie Fire Capital LLC is controlled by Defendant Westwind and/or

     Defendant Castleman. Defendant Prairie Fire Capital LLC may be served through its registered

     agent, United Corporate Services, Inc., 874 Walker Road, Suite C, Dover, Delaware 19904.

.,          16 .   Defendant Ptolemy Capital, LLC is organized under the laws of Delaware and has

     its principal place of business at 917 Tahoe Boulevard, Incline Village, Nevada 89451. On

     information and belief, Ptolemy Capital, LLC is controlled by Defendant Stone.     Defendant

     Ptolemy Capital, LLC may be served through its registered agent, Corporation Service

     Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

            17.    Defendant the Castleman Family Foundation is a private nonprofit foundation

     located at 917 Tahoe Boulevard, Suite 200, Incline Village, Nevada 89451. On information and

     belief, the Castleman Family Foundation is controlled by Defendant Castleman.

            18.    Defendant the Michael and Karen Stone Family Foundation is a private nonprofit

     foundation located at 501 Silverside Road, Suite 123, Wilmington, Delaware 19809.          On

     information and belief, the Michael and Karen Stone Family Foundation is controlled by

     Defendant Stone. Defendant the Michael and Karen Stone Family Foundation may be served



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through its registered agent, Foundation Source Philanthropic Services, Inc., 55 Walls Drive,

Fairfield, Connecticut 06824.

IV.     JURISDICTION AND VENUE

         19.        This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C. §

3732(a), 28 U.S.C. §§ 1331 and 1345, and 15 U.S.C. § 687 et seq.

        20.         There have been no public disclosures of the allegations or transactions contained

herein that bar jurisdiction under 31 U.S.C. § 3730(e).

        21.         This Court has personal jurisdiction over the Defendants because, among other

things, Defendants transact business in this District and/or engaged in wrongdoing in this

District. Entity Defendants Greentree, Whitney, and GarMark either currently maintain their

principal places of business in this District or did so during the time period relevant to this

action. Individual Defendants Castleman, Stone, O'Brien, and Bewkes either currently reside

and/or work in this District, or did so during the time period relevant to this action. Furthermore,

because all Defendants are citizens and/or residents of the United States, personal jurisdiction

exists under Fed. R. Civ. P. 4(k)(l)(C) because the False Claims Act authorizes service of

process throughout the United States. 31 U.S.C. § 3732(a).

        22.         Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. §§

1391 (b) and (c). All Defendants either currently transact business within this District, and/or did

so during the time period relevant to this action; Defendants Whitney, GarMark, and Bewkes can

currently be found and reside in this District; and acts proscribed by 31 U.S.C. § 3729 occurred

in this District.




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V.     APPLICABLE LAWS

       A.      The False Claims Act

       23 .    The False Claims Act ("FCA"), in relevant part, imposes liability on any person

who:

               (G)     knowingly makes, uses, or causes to be made or used, a false record or
                       statement material to an obligation to pay or transmit money or property to
                       the Government, or knowingly conceals or knowingly and improperly
                       avoids or decreases an obligation to pay or transmit money or property to
                       the Government; or

               (C)     conspires to commit a violation of subparagraph ... (G).

                       31 U.S.C. § 3729(a)(l).

       24.     Under the False Claims Act, the terms "knowing" and "knowingly"

               (A)     mean that a person, with respect to information-

                       (i)     has actual knowledge of the information;

                       (ii)    acts in deliberate ignorance of the truth or falsity of the information;
                               or
                       (iii)   acts in reckless disregard of the truth or falsity of the information;
                               and
               (B)     require no proof of specific intent to defraud. 31 U.S.C. § 3 729(b ).

       25.     Under the False Claims Act, the term "obligation" means "an established duty,

whether or not fixed, arising from an express or implied contractual, grantor-grantee, or licensor-

licensee relationship, from a fee-based or similar relationship, from statute or regulation, or from

the retention of any overpayment." Id. § 3729(b )(3 ).

       26.     Under the False Claims Act, the term "material" means "having a natural

tendency to influence, or be capable of influencing, the payment or receipt of money or

property." ld. § 3729(b)(4).



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         27.   A person violates the False Claims Act not only by fraudulently obtaining money

from the government (the classic "false claim"), but also by using or causing a false record or

statement to be used in order to diminish or avoid an obligation owed to the government. Such

a violation is known as a "reverse false claim." See, e.g., U.S. ex rei. Matheny v. Medco Health

Solutions, Inc., 671 F .3d 1217, 1221-22 (11th Cir. 20 12) (explaining elements of a "reverse false

claim" under § 3729(a)(l)(G)); U.S. ex rei. Conner v. Veluchamy, No. 11-cv-4458, 2014 U.S.

Dist. LEXIS 946, at *4 (N.D. Ill. Jan. 3, 2014) (same). Liability for a "reverse false claim" can

be indirect as well as direct- i.e., a party not itself obligated to the government can nevertheless

be liable for knowingly causing other parties to improperly impair or avoid their obligations to

the government. See, e.g., U.S. v. Caremark, Inc., 634 F.3d 808, 816-17 (5th Cir. 2011).

         B.    The Small Business Investment Company Program.

         28.   In 1958, Congress created the SBIC program in order to facilitate the flow of

long-term capital investment to American small businesses. The SBA administers the SBIC

program as a partnership between public and private investment. The SBA does not provide

capital directly to the small businesses, but instead works through licensed private investment

companies (the SBICs) which select and invest in qualified small businesses using a combination

of SBA funds and private investor funds. The Small Business Investment Act ("SBIA"), 15

U.S.C. § 681 et seq., empowers the SBA to enact rules and regulations governing the conduct of

SBICs.

               1.     Prohibitions on Self-Dealing and Conflicts of Interest.

         29.   Given the dependence of the SBIC program on private money managers and

private investors, it is a paramount concern of the SBA to ensure that these private managers and




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investors do not pursue their own economic interests at the expense of the small businesses in

which they have invested or put at risk the SBA's money. Accordingly, the SBIA and its related

regulations place a heavy emphasis on prohibiting self-dealing and regulating conflicts of interest

that might interfere with the SBIC program's overriding purpose of supporting the development

of American small businesses.      See I5 U.S.C. §§ 682 (requiring "diversification" between

management and ownership of the SBIC); 687 (prohibiting conflicts of interest); 687b(c)

(requiring that an "examination" of each SBIC be conducted every two years, to determine

whether, among other things, "it has engaged in prohibited conflicts of interest"). An SBIC must

certify its compliance with SBA regulations both when receiving money from the SBA, and also

when investing money in its portfolio businesses. ld. § 687(h). False statements and material

omissions are prohibited, and are grounds for suspension or revocation of the SBIC's license. ld.

§ 687a.

          30.   The SBA's regulations prohibit an SBIC from engaging in self-dealing financial

transactions with insiders ("Associates") without obtaining prior permission from the SBA.

These " insiders" include: managers of the SBIC, or persons or owners who directly or indirectly

control 10% or more of its equity; or managers, owners, or agents of an entity directly or

indirectly controlling I 0% of the entity's equity; or any portfolio company which is managed or

at least I 0% owned or controlled by any insider or by any entity controlled by an insider. See 13

C.F.R. §§ I07.730 (defining prohibited insider transactions); I07.50 (defining "Associate" and

"Control Person"); cf 107.I50 (requiring that at least 30% of the ownership ofthe SBIC be by

persons or entities "diverse from" (unrelated to) its management).         Thus, any substantial




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transaction involving an SBIC, its portfolio holdings, and other insider persons or entities, must

be pre-approved by the SBA with full disclosure of the insider relationships.

                 2.     Certifications of Compliance.

       31.       SBIC licensees are required to file a variety of annual, quarterly, and periodic

forms and reports with the SBA. See, e.g., 13 C.P.R.§§ 107.630-650 (Annual Financial Reports

on Form 468; portfolio financing reports; portfolio valuations); 107.1220 (quarterly financial

statements). These filings include certifications of truthfulness and of compliance with SBA

regulations.    False statements and material omissions are a violation of the Small Business

Investment Act. !d. § 107.507. For example, as a "material inducement" for the SBA to issue its

license and provide financial assistance, every SBIC is required to accurately identify each of its

individual and institutional investors, disclosing whether they directly or indirectly own or

control 10% or more of the SBIC, and whether they are "Associates" (i.e. insiders) within the

meaning of 13 C.P.R. I 07.50 by virtue of their affiliation with other investors or management

role in, or ownership or control of, an entity owning or controlling 10% or more of a portfolio

company.       The SBIC is required to notify the SBA "promptly" of any changes in this

information.

       32.      All of these required SBA filings include certifications by an officer or manager

of the SBIC that the information therein is true and correct in all respects. These certifications

are made under penalty of perjury pursuant to 18 U.S.C §§ 1001 and 1006, which criminalize

any false statement or material omission made to the SBA, and prohibit sharing in any benefit

obtained through an SBIC with an intent to defraud. In addition, 15 U.S.C. § 645(a) makes it a




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criminal offense to make any false statement to the SBA for the purpose of obtaining money or

anything of value or influencing SBA action in any way.

        33.      It is well established that false statements or omissions made in connection with

participation in SBA programs can give rise to a violation of the False Claims Act. See, e.g., Ab-

Tech Construction, Inc. v. US., No. 298-89-C, 31 Fed. Cl. 429, 1994 U.S. Claim LEXIS 193

(U.S. Fed. Claims Ct. June 2, 1994) (subcontractor participating in SBA program for minority-

owned businesses violated FCA by falsely certifying its compliance with program rules and

concealing fact that it was actually controlled by ineligible non-minority contractor); US. v.

Torkelsen, Civ. No. 06-05674, 2007 U.S. Dist. LEXIS 88955, at *18 (E.D. Pa. Dec. 3, 2007)

(defendants violated FCA by falsely certifying compliance with SBIC regulations on insider

transactions).

                 3.     Receivership and Recovery from Troubled SBICs.

       34.       The SBA is entitled to a return on the public money it has invested in an SBIC,

and it is empowered to take steps to safeguard that investment. For example, if an SBIC's

"Capital Impairment" (the ratio of its losses to its private capital commitments) exceeds a certain

threshold, the SBA can "foreclose" on the SBIC by bringing a judicial action for receivership,

taking over its management, and liquidating its holdings.      See 13 C.F .R. § I 07.1830. In a

receivership proceeding, the SBA's claims to any proceeds from the sale of portfolio holdings

have priority over the claims of the private investors, who cannot be repaid until the SBA has

fully recovered its investment. Furthermore, when an SBIC has suffered losses as a result of

improper self-dealing or other violations of SBA regulations, its principal owners, officers, and




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directors can be held personally liable for the losses resulting from those violations. See SBA v.

Segal, 383 F. Supp. 198,202-03 (D. Conn. 1974).

VI.     DEFENDANTS' SELF-DEALING SCHEME TO DEFRAUD THE SBA.

        35.    Between 2009 and 2013, Defendants engaged in a far-reaching scheme to enrich

themselves at the expense of the SBA and the taxpayer by using their control over the Greentree

SBIC to divert its resources toward failing companies in which Defendants were heavily invested

through their separate, private funds. Greentree lost substantially all of its investment in these

companies.    At the same time, Defendants contrived to seize control of Greentree's only

successful portfolio company, STOP, by preventing Greentree from investing its own funds in

STOP and by sabotaging STOP's attempts to obtain funding from outside investors, thereby

artificially depressing STOP's value so that they could acquire it in an insider transaction at a

bargain price and then tum around and sell it for substantial profit. Defendants' mismanagement

drove Greentree into financial collapse and receivership, causing a loss to the SBA of about $93

million of the $98 million it had invested in Greentree and its portfolio companies.

        A.     The Greentree SBIC and its Holdings.

        36.    Defendant JHW Green tree Capital L.P. ("Greentree") was organized in 2004 as a

Small Business Investment Company ("SBIC") under the provisions of the SBIA, and was

licensed by the SBA on September 29, 2004.

        37.    Defendants Peter M. Castleman, Michael R. Stone, and Daniel J. O'Brien were

the Principals of Greentree's General Partner, JHW Greentree Capital GP, LLC. Castleman and

Stone had the final say on Greentree's investment decisions. O'Brien was designated as the

Managing Member of Greentree's General Partner, JHW Greentree Capital GP, LLC, and was




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formally responsible for Greentree's compliance with SBA regulations. At the same time that

they acted as Principals of Greentree, Castleman and Stone continued to serve as Managing

Partners for their investment company, Defendant J.H. Whitney & Co., one of the main private

investors in the Greentree portfolio companies.        From the outset, Castleman and Stone

represented to the SBA and to investors that Greentree was an integral part of Whitney's private

investment offerings, and that the SBIC would be backed by the resources and expertise of

Whitney and its leadership. As Castleman put it in an August 24, 2004 letter to the SBA's

Director of Licensing, "To us, Greentree is Whitney and Whitney is Greentree."

       38.     Relator Michael Cowan, along with Sam Shimer and Robert Chartener, were

hired in 2004 as three full-time managers for Greentree's day-to-day operations. Relator Cowan

prepared Greentree's financial reports, which were reviewed and signed by Defendant O'Brien

in his capacity as Managing Member of Greentree's General Partner.

       39.     As a licensed SBIC, Greentree was required to submit various annual, quarterly,

and other reports to the SBA, all of which contained certifications of ongoing compliance with

SBA regulations.    Relator Cowan acted as Greentree's liaison to the SBA and prepared the

reports; Defendant O'Brien reviewed and signed the certifications as Greentree's Managing

Member. Each of these certifications, signed under penalty of perjury, included statements that

the information contained in Greentree's reports to the SBA was true and correct in all respects.

       40.     Greentree obtained about $168 million in total financing, of which about $98

million came from the SBA and about $70 million came from various private investors. The

SBA provided this funding to Greentree in the form of "Participating Securities," which were to

be repaid after ten years. In exchange, the SBA received a preferred limited partnership interest



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in Greentree, which entitled it to priority over the other private investors in any distribution of

profits or proceeds from the businesses in which Greentree invested.

       41.     Greentree used its financing to acquire a portfolio of holdings in fourteen different

small businesses.     In four of these portfolio holdings (American Property Hospitality

Management, EMS Holdings, Tactronics, and Universal Building Products) Greentree "co-

invested" its funds alongside investments from other, much larger non-SBIC private funds

controlled by Castleman and Stone through their investment company, Defendant J.H. Whitney

& Co. These four co-invested holdings were considered "Associates" under SBA regulations

because they were owned or controlled in substantial part by private funds under the control of

Greentree's own managing principals. See 13 C.F.R. § 107.50. Accordingly, any Greentree

transactions involving the co-invested holdings were treated as "insider" transactions which

generally required advance disclosure to, and/or approval from, the SBA. See id. § 107.730. As

managing principals of a licensed SBIC, Defendants Castleman, Stone, and O'Brien had a duty

not to advance the interests of their separate private investments at the expense of the interests of

Greentree and the SBA's investment in Greentree.

       42.     Another of the businesses in Greentree's portfolio was STOP, which makes GPS

monitoring devices, including ankle bracelets, for parolees, probationers, registered sex

offenders, and other persons under law enforcement supervision. STOP has major contracts with

the California Department of Corrections and various other state and local law enforcement

agencies. At all relevant times, Defendant Steven Logan was STOP's Chief Executive Officer.

       43.     Greentree initially invested about $17 million in STOP, of which about $12

million was the SBA's money.        From 2004 up through the end of 2009, Greentree owned



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approximately 60% of the equity in STOP and controlled the company with six of the eight seats

on STOP's board of directors. The remainder of STOP's equity was owned or controlled by

Defendants Prairie Fire Capital, Ptolemy Capital, and GarMark, and also by certain of STOP's

management, including Defendant Logan. On information and belief, Defendants Castleman,

Stone, and Bewkes invested substantial amounts of their own money in STOP through the

vehicles of the Prairie Fire, Ptolemy, and GarMark entities which they controlled, and thus they

held a substantial interest in STOP separate and apart from Greentree's interest. Because of

Castleman and Stone's private co-investments, STOP was considered an "Associate" under SBA

regulations because more than 10% of it was owned by private funds under the control of

Greentree's own managing principals. See 13 C.F.R. § 107.50. Accordingly, any Greentree

transactions involving STOP were treated as "insider" transactions which generally required

advance disclosure to, and/or approval from, the SBA.       See id. § 107.730.    As managing

principals of a licensed SBIC, Defendants Castleman and Stone had a duty not to advance the

interests of their separate private investments in STOP at the expense of Greentree's and the

SBA's investment in STOP.

       44.    In addition to its equity holding in STOP, GarMark was also a major creditor of

STOP. In June 2006, GarMark advanced STOP about $5 million in financing at an interest rate

of 12%. On information and belief, Castleman and Stone owned one third of this obligation,

which was scheduled to come due in June 2011. The GarMark loan included a lien on all of

STOP's assets, which effectively precluded STOP from seeking further secured financing from

banks. On information and belief, Defendant GarMark is owned and/or controlled by Defendant

Bewkes, who on information and belief is a close personal friend of Defendant Castleman. On



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information and belief, Defendants Castleman and Stone have substantial funds invested in

GarMark.

       B.      Defendants' Self-Dealing Scheme.

       45.     During the economic downturn in 2008-2009, most of Greentree's fourteen

portfolio companies performed poorly. By the beginning of 2009, with the sole exception of

STOP, Greentree's holdings were now worth less (in some cases as much as 75% less) than what

Greentree had paid to acquire them. As of2009, Greentree still owed the SBA about $93 million

on its original $98 million investment. STOP's business, by contrast, was flourishing as it won a

series of law enforcement and correctional contracts. Among Greentree's holdings, only STOP

had a valuation that exceeded the cost basis of Greentree's investment.

       46.     On information and belief, by the end of 2008 Defendants Castleman, Stone, and

O'Brien had concluded they were not going to make money through Greentree. Greentree's

partnership agreement designated the SBA as a preferred limited partner and gave it priority over

the private investors in any distributions of profits or proceeds, as required by SBA regulations.

See 13 CFR §§ 170.1500-1540. So long as STOP remained within the SBIC, whatever profits it

generated for Greentree would be swallowed up by the much larger obligation to the SBA that

resulted from the poor performance of the rest of Greentree's portfolio.        Accordingly, the

Defendants contrived a scheme to strip away Greentree's few promising holdings so as to avoid

sharing any profits with the SBA.

       47.     On information and belief, Defendants Castleman, Stone, and O'Brien

deliberately starved Greentree of the resources it needed to manage its portfolio holdings

efficiently. At the end of 2008, ostensibly in an effort to cut costs, Castleman laid off two of




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Greentree's three managers, Shimer and Chartener, and left Relator Cowan as the only full-time

manager during 2009. Meanwhile, Defendants continued to bill Greentree for lavish expenses

such as Stone's California office and fees for Castleman's private jet. At the end of 2009,

Relator Cowan was also removed from full-time management, and Defendant O'Brien took over

his responsibilities on a part-time basis.   Ultimately, however, Greentree's operations and

numerous holdings were too big for one person to manage effectively.

       48.    The removal of Greentree's experienced full-time managers had a very

detrimental effect on Greentree's performance in 2009 and after. The managers had supervised

and closely observed the performance of Greentree's holdings by maintaining day-to-day contact

with the CEOs and serving actively on the boards of the various portfolio companies.       On

information and belief, after the managers were gone, communication between Greentree and its

portfolio companies languished and the CEOs would hear from O'Brien only once every few

months.

       49.    Greentree never informed the SBA that it was getting rid of its full-time

managers.

       50.    If Greentree had continued under competent full-time managers who were not

affected by conflicts of interest, there is every likelihood that Greentree could have avoided

financial collapse and receivership and the SBA's investment could have been repaid.

              1.      Defendants Divert Greentree's Funds To Support Their Separate
                      Private Investments in Failing Companies.

       51.    On information and belief, Castleman, Stone, and O'Brien conspired to steer

Greentree's capital away from STOP, its only profitable holding, and into the four other

companies in which private Whitney Group funds controlled by Castleman and Stone had co-


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invested. On information and belief, Defendants' aim in doing so was twofold: first, to use

Greentree's (and the SBA's) capital to help rescue the much larger private investments they had

already made in those struggling companies; and second, to deprive STOP of the investment

capital it needed to expand, with the aim of artificially depressing its value so that their private

funds could acquire it from Greentree at a bargain-basement price.

       52.     Of the $20 million that Greentree invested in its fourteen portfolio companies

during 2009, $11 million went to the four companies in which Castleman and Stone privately

owned or controlled majority interests. These four companies were doing particularly badly in

2009, and favoring them over STOP made no business or economic sense for Greentree:

                   a. Tactronics was a military contractor manufacturing ballistic armor and

                       specialized communications equipment.         Greentree had co-invested in

                       Tactronics alongside Castleman's Whitney VI fund, holding 15.4% to

                       Whitney VI's 76.2%.       Greentree's only representative on Tactronics'

                       board was Defendant Castleman, and the Whitney fund kept Greentree in

                      the dark about its management of Tactronics and the details of its

                       financing arrangements. During 2009, Greentree invested an additional

                       $3.1 million in Tactronics, which by 20 I 0 was already written down to

                      25% of what Greentree had originally paid for it. In an August 26, 2009

                      e-mail, Relator Cowan warned Defendant O'Brien that given the lopsided

                       investment ratio and the poor performance to date of this and other co-

                       invested companies, Greentree was "at [Whitney's] mercy" and Whitney

                      "may seek to squash Greentree down the road." In 2011, this prediction



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                   came true when Defendants contrived through a fraudulent conveyance to

                   wipe out Greentree's equity in Tactronics' successful ballistic armor line

                   of business (Armorstruxx) by spinning it off into a new separate company,

                   Advanced Defense Holdings, formed through a series of complicated

                   transactions. The communications line of business, in which Greentree

                   remained invested, failed and closed its doors in 2011.    Greentree lost

                   substantially all of the $12.4 million it had invested in Tactronics.

                  Meanwhile, on information and belief, Armorstruxx is a thriving business

                   currently owned by Castleman's Whitney VI fund. On information and

                   belief, Greentree's equity in Armorstruxx was worth between $8 million

                   and $10 million at the time that Defendants fraudulently conveyed it to

                   Whitney VI. These transactions should have been reported to the SBA,

                  due to the insider relationships between Castleman, the Whitney fund,

                  Tactronics, Advance Defense Holdings, and Armorstruxx, but no such

                   report was made.

               b. Universal Building Products ("UBP") was a provider of construction

                  material and products.     Greentree had co-invested in UBP alongside

                  Castleman's Whitney V fund, with Greentree holding 11.9% next to

                  Whitney V' s 69.1 %. When Greentree added $3.1 million to its investment

                  in 2009, UBP was already struggling and had been written down to 20%

                  of invested cost; by 201 0 it was in bankruptcy. On information and belief,




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                     Greentree lost substantially all of its approximately $10 million total

                      investment in UBP.

                  c. Eastern Mountain Sports Holdings ("EMS") was a manufacturer of

                     sporting goods. Greentree had co-invested in EMS alongside Castleman's

                      Whitney V fund, holding 22.5% next to the Whitney fund's 68.6%. By

                     2009, when Greentree added $2.5 million to its existing investment, EMS

                     had already been written down to half what Greentree had originally paid

                     for it. Eventually it was sold at a complete loss with no distribution of

                     proceeds to the SBA or other investors.        On information and belief,

                     Green tree lost about $12.5 mill ion it had invested in EMS.

                  d. American Property Hospitality Management ("APHM") was an operator

                     of various resort hotel properties. Greentree had co-invested in APHM

                     alongside Castleman's Whitney V and Whitney VI funds, with Greentree

                     controlling only 6.2% next to the Whitney funds' 93.8%. As of 2009,

                     when Greentree invested an additional $2 million, Greentree's investment

                     in APHM had already been written down to only 25% ofthe $11.3 million

                     Greentree had originally paid for it, and Greentree should have walked

                     away from it rather than investing more money.         On information and

                     belief, Green tree's entire investment in APHM was written off by 2011.

       53.    These four troubled companies had received $57 million out of Greentree's $147

million total investment capital as of 2009. Castleman and Stone privately owned larger stakes

in these companies through the Whitney funds, and they put the interests of their private



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investments ahead of the interests of Greentree and the SBA. In doing so, they violated the

Small Business Investment Act and the SBA's regulatory prohibitions on self-dealing and

conflicts of interest. See 15 U.S.C § 687; 13 C.F.R. § 107.730. By failing to disclose and seek

SBA approval for their insider transactions, Defendants not only violated the SBIA and related

regulations, see 15 U.S.C. § 687a, 13 C.F.R. § 107.507, but also caused Greentree to violate the

False Claims Act by causing Greentree's reports to the SBA to be incomplete and materially

misleading and its certifications of compliance with SBA regulations to be false. On information

and belief, Defendants' purpose in so doing was to avoid or reduce Greentree's obligation to

repay the approximately $93 million remaining of the government funds it had received from the

SBA.

       54.    By steering the bulk of Greentree's available investment capital toward other

failing companies in which Castleman and Stone had already heavily committed their private

funds, Defendants prevented Greentree from being able to provide the additional investment

capital needed to finance the further expansion of STOP, Greentree's only successful holding.

At the same time, on information and belief, throughout 2009 Defendants Castleman, Stone, and

O'Brien worked together with Defendants GarMark and Bewkes to frustrate STOP's efforts to

obtain investment capital from outside sources, so that they could take over control of STOP in

an insider transaction on terms highly favorable to themselves and highly unfavorable to

Greentree.

              2.      Defendants Hijack Investment Opportunities Away From Greentree.

       55.    Defendants also used their control of Greentree and their insider connections to

improperly divert and usurp promising investment opportunities that Greentree had developed




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through lengthy and painstaking due diligence. One of Greentree's portfolio companies, RPET

Holdings LLC (d/b/a New Horizons Plastics Recycling), was a startup company that specialized

in recycling PET plastic from soft drink bottles. Greentree's investment in RPET totaled about

$19 million. On information and belief, the CEO of RPET, Robert Fotsch, was an old business

school classmate of Castleman and had been the CEO of another Whitney company.

       56.     In 2008, RPET had the opportunity to acquire a bankrupt competitor, Wellman

Plastic Recycling ("Wellman") for pennies on the dollar. This acquisition would have made

good business sense for RPET. Because Greentree did not have enough money to complete the

acquisition by itself, it teamed up with Castleman's Whitney VI fund.      The participation of

Whitney- an "insider" controlled by Greentree's management- would have required Greentree

to seek the SBA's approval for its planned acquisition of Wellman.

       57.     However, on information and belief, after Greentree's due diligence was

concluded, Castleman and Fotsch decided not to merge Wellman into RPET and not to make any

further investment from Greentree. Instead, the Whitney VI fund acquired Wellman for itself,

kept Wellman in business and operated it as a direct competitor to Greentree's RPET, and

installed Fotsch as Wellman's CEO at the same time that he was still serving as CEO to RPET.

       58.     In 2010, RPET failed and Greentree's entire $19 million investment was wiped

out. On information and belief, Wellman is still in business and still owned by Whitney VI, and

is currently valued at more than twice what Whitney VI paid for it.

       59.     By taking the Wellman opportunity away from Greentree and diverting it to his

own private fund, and by poaching away RPET's CEO and setting up Wellman as a direct




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competitor to the SBJC's investment in RPET, Defendant Castleman violated his duties to

Greentree and to the SBA.

               3.      Defendants Sabotage STOP's Efforts To Attract Outside Investment.

       60.     As discussed above, STOP was the only successful business of the fourteen

businesses in Greentree's investment portfolio in the wake of the economic downturn. To take

full advantage of its business success, support its expansion, and compete for new government

contracts, STOP needed to raise about $2 to $3 million in new investment capital over the next 2

to 3 years. In addition, STOP needed to pay off or refinance the $5 million debt it owed to

GarMark, which was scheduled to come due in 2011. On information and belief, one-third of

this debt was owned by Defendants Castleman and Stone. During the spring of 2009, STOP

engaged Sam Shimer (formerly one of Greentree's managers) as a consultant to coordinate its

efforts to raise up to $10 million in new outside capital.

       61.     Outside investors recognized STOP's potential and were interested. During the

summer and fall of 2009 one such outsider, Webster Capital, engaged in lengthy negotiations

with Green tree. Webster presented an offer under which it would invest about $10 million in

STOP, acquire between 10-20% of STOP's equity from Greentree at a price of about $2 per

share, and take over one of the eight seats on STOP's board of directors. The Webster proposal,

had it been consummated, would have provided more than sufficient capital to meet STOP's

expansion needs and wipe out its debt to GarMark, and would still have left Greentree with

majority control of STOP's board.

       62.     On information and belief, the Webster deal never came to pass, however,

because Defendant Castleman - who had the final say in Greentree's investment decisions -



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repeatedly stalled and delayed Greentree's responses to Webster, sent Shimer back to Webster to

negotiate new terms and then rejected those terms, and ultimately caused Greentree to reject

Webster's offer.

        63.    Castleman similarly stalled and frustrated STOP's efforts to attract other outside

investors, at least one of whom participated in due diligence during the summer and fall of 2009

but ultimately lost interest and walked away.

        64.    On information and belief, Defendants Castleman, Stone, and Bewkes also used

STOP's existing $5 million debt to GarMark- one-third of which was owned by Castleman and

Stone - to create a stumbling block for potential new investors.         During 2009, GarMark

aggressively pushed STOP to refinance this debt even though it would not come due until June

2011.   GarMark's existing lien on all of STOP's assets prevented STOP from obtaining

additional secured funding from banks, and was a source of concern to other potential investors.

On information and belief, GarMark initially showed a willingness to relax its loan terms so as to

make it easier for STOP to obtain outside funding, but then changed its tune and took a more

inflexible stance under pressure from Castleman.

        65.    Defendants Castleman and Stone also prevented Greentree itself from investing

more of its own capital in STOP, which would have frustrated their plans to take over STOP for

the benefit of their own private funds. Greentree had sufficient funds to put about $2 or $3

million more into STOP, which would have been enough to satisfy STOP's immediate and long-

term needs for business capital. In late 2009, Greentree had about 24% of its Regulatory Capital

(i.e. capital committed or contributed by private investors) invested in STOP. Because SBA

approval is required for an SBIC to invest more than 20% of its Regulatory Capital in a single



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business, Greentree would have had to make an "overline" request to the SBA before investing

the additional funds in STOP. During the fall of 2009, Relator Cowan and Shimer discussed the

option of an overline investment with Castleman. On information and belief, the SBA would

probably have approved an overline request up to 30% of Regulatory Capital, which would have

allowed Greentree to invest another $4.4 million in STOP.       However, Castleman prevented

Greentree from submitting an overline application, and prevented Greentree from investing any

additional funds in STOP.

               4.      Defendants Take Control of STOP and Disregard SBA Regulations.

       66.     After having driven away outside investors and closed off all of STOP's

alternatives for obtaining the funding it needed, Defendants presented their own financing offer

through the intermediary of the Castleman-controlled Westwind Investors group. In December

2009, Westwind made an offer on terms decidedly less favorable than those of the Webster deal

that Castleman had rejected only months earlier. Westwind would buy $3 million of STOP's

equity at a price of about $1.75 a share (where Webster had offered $2 a share), and would take

two of STOP's eight board seats (where Webster would have taken only one). In addition,

Westwind proposed to replace the existing $5 million GarMark loan at its 12% interest rate- one

third of which, on information and belief, was owned by Defendants Castleman and Stone -with

a new $7 million loan at an interest rate of 16%. STOP's board agreed to these terms, executed a

letter of intent, and proceeded with due diligence.

       67.     Between the initial Westwind proposal in December 2009 and the final closing of

the deal on March 12, 2010, the terms became even less favorable to Greentree and STOP and

even more lucrative for Castleman and his colleagues. In the final deal, Castleman's group spent



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about $4 million to buy the same equity in STOP that Webster had offered to buy for $10

million, at a price of about $I per share. The final March 20 I 0 deal included terms such as a

"liquidation preference floor" that guaranteed Defendants a return of at least two times their

investment (and potentially up to six times their investment, depending on whether STOP met

various arbitrary performance targets) - and Defendants were guaranteed to be paid this return

ahead of existing investors like Greentree and the SBA. Greentree should never have agreed to

terms that were so unfavorable to existing shareholders, and, on information and belief, it did so

only because it was effectively controlled by Defendants.

       68.     In the final March 2010 deal, the existing GarMark loan of $5 million at I2% -

which would not have been due until June 20 II - was replaced with a new loan of $6 million at

16%, now with significant prepayment penalties which would make it more difficult for STOP to

pursue any future refinancing. On information and belief, STOP could easily have obtained

financing from outside sources on significantly less onerous terms. The final deal also included

a "poison pill" provision giving Castleman's group a right of first refusal on any attempt by

Green tree to sell its remaining equity in STOP. The right of first refusal had the effect of making

it more difficult for STOP to attract potential outside buyers, who would be less likely to go

through the effort of a due diligence process.

       69.     Castleman's group also took over effective control of STOP, claiming five of the

eight seats on its board of directors. Greentree's representation on STOP's board fell from six

seats to only one seat, even though it continued to own about 46% of the equity in STOP (down

from its previous ownership share of 61.6%). Because Greentree was controlled by Castleman,




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Stone, and O'Brien, it acquiesced in these unfavorable terms and did not protest its loss of

majority control over STOP.

        70.      The March 2010 transaction, in which Greentree relinquished corporate control

over STOP to private funds controlled by its own principals and managers, was an insider

transaction that required disclosure to and approval from the SBA.         See, e.g., 13 C.F.R. §

107.730. However, Defendants did not seek the SBA's approval or even inform it of the insider

nature of the transaction. On information and belief, if the SBA had been fully apprised of the

relationships between the parties and the change in corporate control, it would not have allowed

the transaction to take place.

        71.      In addition, the extravagant 16% interest rate on STOP's refinanced debt violated

another SBA regulation, which limited permissible interest rates on similar financing

arrangements to a maximum of 14%. See 13 C.F.R. § 107.855. Defendants were required to

seek the SBA's approval for the higher interest rate, but they did not do so. On information and

belief, the SBA would not have approved the transaction if it had known about the excess

interest rate.

        72.      The SBA's regulations contain a "safe harbor" that allows an SBIC to engage in

"insider" transactions without seeking advance approval from the SBA, so long as the SBIC

participates in the transaction at the same time and under the same terms and conditions as the

other participants. See 13 C.F.R. § 107.730. The purpose of this rule is to maintain the SBIC's

same proportionate ownership share in the portfolio company under the same terms by which it

had obtained its original investment. If a transaction involving insiders does not change the

SBIC's proportionate ownership share, and does not change the terms under which the SBIC had



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originally invested, then no actual harm has resulted from the conflict of interest and there is no

need to obtain the SBA's approval. See id.

       73.     As stated above, Greentree could have invested a substantial sum of between $2

and $3 million in STOP, and would thus have satisfied the "safe harbor" requirement. However,

Defendants did not want Greentree to make a large new investment in STOP, because they

wanted to divert Greentree's available funds into the other struggling companies in which they

had co-invested - and also because they wanted to reduce, not increase, Greentree's equity in

STOP so that they could take over that company for themselves.          Accordingly, Defendants

attempted to evade the requirement for SBA notification and approval by causing Greentree to

invest only the trivial sum of $120,000 in the STOP deal. Defendants knew that Greentree's

$120,000 contribution to the $10 million package was a mere smokescreen, being far too small

to meet the "same proportion" requirement of the safe harbor rule.

       74.     As a result of Greentree's minimal participation in the March 2010 transaction

orchestrated by its managers and principals, Greentree's equity interest in STOP fell from 61.6%

to 46%, Greentree gave up five of its six board seats, and Greentree surrendered majority control

over STOP to Defendants - exactly the outcome the SBA's "same time, same conditions"

requirement is intended to prevent. See 13 C.F .R. § 107.730. On information and belief, if

Greentree had fully participated in the March 2010 transaction and co-invested between $2 and

$3 million under the same terms and conditions as Defendants - thus complying with §

107.730's safe harbor requirement- then the additional equity thus acquired would have sold for

between $10 and $11 million (returning a net gain of between $8 and $9 million) when

Defendants sold STOP on the market in December 2013.



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        75.     In Oreentree's subsequent filings with the SBA, Defendants disclosed to the SBA

only that Oreentree had made a $120,000 co-investment in the March 2010 STOP deal. This

disclosure was incomplete and misleading, because Defendants did not disclose to the SBA that

the other participants in the STOP transaction- who received the lion's share of its benefits-

were affiliated investors and "insiders" within the meaning of SBA regulations.

        C.      Relator Michael Cowan Warns Defendants About SBA Regulatory
                Violations.

        76.     Relator Michael Cowan is an accomplished private equity professional with 20

years' experience in acquiring, financing, developing, and reorganizing businesses in a variety of

industries. In 1996, Relator Cowan was recruited by Defendant Michael Stone to serve as Chief

Financial Officer for Heartland Pork Enterprises, a Whitney-owned company. During Relator

Cowan's tenure, Heartland grew from $15 million in revenue to over $175 million, and from 40

employees to over 600 personnel. From 2000 to 2003, Relator Cowan was a Principal at J.H.

Whitney & Co. and served as CFO for about 20 different Whitney funds that collectively held

over $5 billion in assets.

        77.     In 2003, Defendant Stone invited Relator Cowan to participate in the formation of

Greentree as a licensed SBIC. Relator Cowan joined Greentree in August 2003, and managed

the SBA application and licensing process.         Up through 2009, Relator Cowan handled

Greentree's relationship with the SBA, acted as Oreentree's point of contact for the agency, and

prepared the annual, quarterly, and other reports that Greentree was required to submit to the

SBA. Defendant O'Brien reviewed and signed the reports in his capacity as Managing Member

ofGreentree's General Partner, JHW Greentree Capital GP, LLC.




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        78.      Relator Cowan regularly advised Greentree's Principals, including Defendants

Castleman and O'Brien, on matters relating to Greentree's compliance with SBA regulations. In

addition, during 2009 Relator Cowan became solely responsible for running Greentree's day-to-

day operations after Castleman had laid off the other two managers, Shimer and Chartener, at the

end of 2008. At several points during 2009, Relator Cowan complained to Castleman that he

was being given insufficient resources to properly manage Greentree's affairs and that its

investments would suffer as a result. On information and belief, Defendant Castleman grew

increasingly hostile toward Relator Cowan as a result of these complaints, and also because

Relator Cowan's advice on compliance with SBA regulations conflicted with Castleman's plans

to take control of STOP at Greentree's expense. At the end of 2009, Castleman eliminated

Relator Cowan's position as a full-time manager. However, Relator Cowan continued to work

with Greentree and with Defendant O'Brien on a consultant basis, and continued to advise them

on matters relating to SBA compliance, through April 2010.

       79.       On multiple occasions in 2009, Relator Cowan warned Castleman, Stone, and

O'Brien both verbally and in writing that they were not acting in the best interests of Greentree

or of the SBA.

       80.       For example, in a January 24, 2009 e-mail, when Peter Castleman suggested that

Greentree set up a sham transaction to erase the private partners' potential liabilities to the SBA

by "calling" their unfunded capital commitments and then distributing the same money back to

them as cash, Relator Cowan warned Defendant O'Brien that the plan "would stick out like a

sore thumb that we were trying to game the system."




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       81.     In an August 26, 2009 e-mail, Relator Cowan warned Defendant O'Brien that

Greentree had too much of its capital co-invested in poorly-performing companies where it was a

minority investor alongside the much larger Whitney funds controlled by Castleman and Stone,

leaving Greentree without sufficient resources for its own standalone deals. Relator Cowan

warned that the Whitney funds "may seek to squash Greentree down the road" and squeeze it out

of its positions in the co-invested companies.

       82.     On several occasions during late 2009 and early 2010, both verbally and in

writing, Relator Cowan repeatedly warned Defendants Castleman and O'Brien that the terms of

the STOP deal violated SBA regulations in multiple respects.

       83.     For example, after Relator Cowan explained that any participation by Greentree in

an insider transaction would need to meet the "same time I same conditions" test in order to

qualify for the safe harbor and avoid the need for SBA approval under 13 C.F .R. § I 07.730,

Defendant O'Brien said that Greentree would not be able to invest more than $200,000 in the

STOP transaction. Relator Cowan advised Defendants that this sum would be nowhere near

enough to avoid the requirement for disclosure to the SBA, telling Defendant O'Brien that this

arrangement "would not fool" the SBA and that it was "smoke and mirrors."                Willfully

disregarding Relator Cowan's advice, Defendants caused Greentree to contribute only $120,000

to the final STOP deal and did not inform the SBA of the insider nature of the transaction.

       84.     In an April 8, 2010 e-mail exchange, Relator Cowan warned Defendant O'Brien

that the 16% interest rate on the new loan to STOP exceeded the 14% maximum rate allowed

under 13 C.F.R. § 107.730, and advised O'Brien that Greentree would probably need to reduce

the interest rate in order to obtain SBA approval. In response, O'Brien- Greentree's Principal



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     and Managing Member - said: "/ know in the mind of the SBA rules are rules, but it seems

     crazy to just give away economics other co-investors are enjoying." Willfully disregarding

     Relator Cowan's advice, Defendants did not inform the SBA of the excess interest rate, and did

     not reduce the rate in order to bring the loan in compliance.

            85.     After April 2010, Defendants ended Greentree's consultant relationship with

     Relator Cowan, and no longer sought his advice on matters relating to compliance with SBA

     regulations.

            D.      Defendants Manipulate Greentree's Receivership to Acquire STOP for a
                    Fraction of its Value.

            86.     On information and belief, Defendants - having concluded that they could not

     make money within the framework of the Greentree SBIC and its obligations to the SBA -
.,
     conspired to drive Greentree into financial collapse and receivership so that they could acquire

     its only successful holding, STOP, at a bargain-basement discount. Their plan succeeded.

                    1.      Defendants Drive Greentree into Receivership.

            87.     By the beginning of 2012, Greentree's "Capital Impairment"- the ratio between

     its realized and unrealized losses and its private capital commitments - had reached and then

     exceeded a regulatory threshold that put Greentree in default of its obligations to the SBA and

     triggered the SBA's authority to foreclose on Greentree's holdings by initiating a receivership

     process. See 13 C.P.R.§§ 107.1820-1840. At the beginning of2012, Greentree still owed the

     SBA about $93 million of the SBA's original $98 million investment.

            88.     In January 2012, after Greentree failed to cure its capital impairment despite

     multiple warnings, the SBA initiated receivership proceedings against Greentree in federal court.

     By consent order, the SBA was appointed as Receiver for the purpose of marshaling and


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liquidating Greentree's assets. The SBA's Receiver took over the management of Greentree,

moved its headquarters to an SBA office in Washington, D.C., and began the process of selling

off Greentree's holdings.

        89.    Greentree's capital impairment and subsequent receivership, on information and

belief, was caused in substantial part by the acts and omissions of Defendants Castleman, Stone,

and O'Brien in placing the interests of their separate private investments ahead of Greentree's

interests.

              2.      Defendants Deceive the Receiver.

        90.   In contrast to the poor performance of Greentree's other portfolio companies,

STOP was in good financial shape at the time Green tree went into receivership. In late 2011,

Greentree's interest in STOP was valued at $28.2 million, or about $1.76 per share.          On

information and belief, STOP's revenues continued to trend upward throughout 2012, and it

continued to win significant government contracts.

        91.   In order to fulfill their goal of acquiring Greentree's remaining equity in STOP,

Defendants needed to convince the SBA's Receiver to sell off Greentree's holding in STOP for a

price substantially lower than its true value. To this end, Defendants conspired to present a

skewed appraisal report to the Receiver which purported to support an artificially low value for

STOP. On information and belief, STOP hired and paid the appraiser, who relied on information

supplied by Greentree's Principals and by Logan without any independent investigation. The

SBA's Receiver, in turn, relied on the appraiser's report and accepted its artificially low

valuation for STOP.




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       92.     Defendants also conspired to prevent the Receiver from seeking out any other

potential buyers who might be willing to submit higher bids for STOP.          Defendant Steven

Logan, STOP's CEO, advised the Receiver not to undertake a due diligence process for STOP

because publicity that STOP was being offered for sale might hurt its prospects for winning

certain government contracts and thus depress its value. The Receiver followed Logan's advice,

and sold Greentree's remaining interest in STOP to Defendants without undertaking any due

diligence process and without making any effort to identify other potential buyers.

       93.     Defendant Logan's statement to the Receiver that a due diligence process would

be harmful to STOP's value was a false statement, as evidenced by the much higher offers STOP

was able to obtain from multiple bidders when it did undertake a comprehensive sale and due

diligence process just months later.      On information and belief, Logan was working at

Castleman's direction to deceive the Receiver into approving the sale of STOP at a bargain price.

Given Castleman's majority control of STOP's board, Logan's continued employment as

STOP's CEO depended on maintaining a good relationship with Castleman. Logan, who owned

a minority stake in STOP, also stood to gain financially from Castleman's planned acquisition

and re-sale ofthe company.

       94.     By presenting to the Receiver a contrived appraisal report stating a misleadingly

low valuation for STOP, and by advising the Receiver that a due diligence process would be

harmful to STOP, Defendants made knowingly false and misleading statements to the SBA's

Receiver, who was an agent of the United States government. Their purpose in so doing was to

influence the Receiver to dispose of Greentree's and the SBA's interest in STOP at a price far




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lower than its true market value, and thus to improperly avoid or decrease their obligation to

repay the money Greentree owed to the SBA out ofthe proceeds of any sale of STOP.

               3.     Defendants Acquire Greentree's Remaining Interest in STOP.

       95.     As of 2012, Greentree still owned about 46% of STOP's equity. Defendants

presented a proposal to the Receiver to buy out all of this equity for the extremely low price of

$3.25 million, or about 20 cents a share, a price far lower than the $2 per share that the Webster

Group had offered in 2009, lower than the $1.76 per share at which Greentree had valued its

interest in late 2011, and lower even than the $1 per share that Castleman's group had paid in the

insider deal that gave them control of STOP in March 2010.            On information and belief,

Defendants' proposed price was completely at odds both with Greentree's own accounting,

which had valued its interest in STOP at $28.2 million as of late 2011, and also with STOP's

financial reports, which showed the company's earnings rising on a year-over-year basis.

       96.     Influenced by a skewed appraisal report and by misleading advice from Logan,

and in the absence of any offers from other potential buyers, the Receiver accepted the terms of

Defendants' offer, and the transaction closed on November 19, 2012.

       97.     As a result of the November 2012 sale, substantially all of STOP's equity was

now owned by a group of entities and investment vehicles which, on information and belief,

were directly or indirectly controlled by Defendants Castleman, Stone, and Bewkes. These

entities included Defendants GarMark Partners II, Prairie Fire Capital, Ptolemy Capital, the

Castleman Family Foundation, and the Michael and Karen Stone Family Foundation.

       98.     The SBA, which was still owed about $93 million out of the $98 million it had

originally invested in Greentree, had priority in the receivership process over the claims of



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private investors. Any proceeds from the sell-off of STOP or other Greentree holdings would be

applied first to pay down Greentree's obligation to the SBA. In fact, the SBA recouped only

$3.25 million on the proceeds of its November 20I2 sale of STOP, out of the $I2 million the

SBA had originally contributed to Greentree's initial investment in STOP.

       99.     On information and belief, if the Receiver had directed Greentree to undertake a

proper due diligence for STOP during 20I2, Greentree could have located outside buyers and

sold its interest in STOP in an arm's length market transaction for considerably more than it

actually did, and Greentree could have used the proceeds of such a sale to satisfy considerably

more of its obligation to the SBA than it actually did. As a result of Defendants' false statements

to the Receiver and their manipulation of the receivership process, the SBA suffered an

economic loss on STOP alone that can be measured the difference between the $3.25 million it

actually obtained for STOP in the receivership sale, and the amount it could have obtained in an

arm's length market transaction following an appropriate due diligence process. This loss was

separate and apart from the loss Greentree and the SBA had already incurred as a result of the

insider deal by which Defendants had taken over majority control of STOP in March 20 I 0.

       E.      Defendants Sell STOP for a Massive Profit; the SBA Gets Nothing.

       I 00.   In 20 I3, Defendants completed their scheme by selling STOP in a market

transaction for a price eighteen times what they had paid the SBA for it only a year earlier.

Having successfully employed a strategy of improper self-dealing and deception to force STOP's

value downward so that they could buy it as cheaply as possible, Defendants now reversed

course and sought to obtain the highest possible price for STOP as sellers on the open market.




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        I 01.   During 2013, Defendants undertook a formal sale and due diligence process to

identify potential outside buyers for STOP. This due diligence process- which was exactly what

Defendant Logan had warned the SBA's Receiver only months earlier not to undertake -was

highly successful.        On information and belief, thirteen potential buyers expressed serious

interest; three of those buyers submitted bids; and two of the bidders were told to come back

with their best offers.

        I02.    The highest bid was submitted by Securus Technologies Inc., which offered to

acquire STOP for a total of $107 million, or $3.60 per share. The price offered by Securus to

Defendants was eighteen times higher than the 20 cents per share Defendants had paid to the

Receiver only a year earlier. Defendants had acquired Greentree's remaining interest in STOP

from the Receiver for $3.25 million, and that same interest was now worth approximately $57

million. Defendants accepted Securus' offer, and closed their sale of STOP in December 2013.

        I 03.   On information and belief, no economic facts existed to justify the dramatic

difference in STOP's valuation between the 20 cents per share Defendants paid the Receiver in

November 20I2, and the $3.60 per share Securus paid Defendants in an arm's length market

transaction in December 2013. On information and belief, STOP's own financial reports in 2012

and 20 I3 were both generally positive and did not make substantially different assessments of

the company's prospects.

        I 04.   The Defendants had put in between $10 and $15 million to acquire their interests

in STOP in various transactions over the years, and accordingly they gained a total of between

$95 and $100 million in profit on their sale to Securus. On information and belief, STOP's CEO,

Defendant Steven Logan, made about $10 million on the Securus sale.



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        I 05.   On information and belief, if Greentree had retained its interest in STOP into

20 I3 and conducted a due diligence process similar to the one conducted by Defendants,

Greentree could have obtained a similarly high price for its STOP equity in an arm's length

market transaction. If Greentree had participated in the sale to Securus, Greentree would have

received about $57 million for its interest in STOP rather than the $3.25 million it actually

obtained in the receivership sale. And if Greentree's ownership of STOP had not previously

been diluted by the March 20 I 0 insider transaction, its equity would have been worth an

additional $10 to $II million in December 2013, for a total sale price of up to $67 or $68

million. All of the proceeds from such a sale would have gone to the SBA, which had priority

over private investors, and would have made a substantial contribution toward paying off the $93

million that Greentree then owed, and still owes, to the SBA.

       106.     On information and belief, Defendants never disclosed the terms of the Securus

transaction to the SBA, and did not inform the SBA how much money they received from their

December 20I3 sale of STOP.

       107.     Defendants' self-dealing and fraudulent conduct in seizing control of STOP

through an insider deal, then engineering the bargain-basement receivership sale of STOP, and

finally flipping STOP within a year for a price eighteen times what they had paid the SBA for it,

caused an actual economic loss to the SBA on STOP alone that is measured by the difference

between what the SBA actually received in the receivership sale, and the amount it could have

received in an arm's length market transaction after a proper due diligence process. In other

words, as a result of Defendants' self-dealing and manipulation of the receivership process, the

United States government was deprived of as much as $63.75-$64.75 million of STOP's value



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(the difference between the $3.25 million the SBA actually obtained in the receivership sale, and

the $67-$68 million Green tree would have received for its undiluted pre-March 2010 interest in

STOP at the price offered by Securus).

        108.   Furthermore, by their self-dealing and fraudulent conduct in steering Greentree's

limited resources toward other failing companies in which they had separately invested, and

diverting investment opportunities to their separate private funds, and by their mismanagement

of Greentree to benefit their own interests, Defendants drove Greentree into financial collapse

and receivership, causing an overall economic loss to the SBA of at least $93 million.

       109.    By means of their self-dealing conduct in violation of the Small Business

Investment Act and SBA regulations, their false certifications of compliance, and their false and

misleading statements to the Receiver, Defendants avoided or greatly decreased their obligation

to repay the government's investments in Greentree and in STOP.

       110.    The government continues to be harmed by Defendants' conduct, because

Greentree is still in receivership and the SBA still has not been made whole for the losses on its

investments.

VII.   COUNT 1 (VIOLATION OF FALSE CLAIMS ACT, 31 U.S.C. § 3729(A)(1)(G))

       111.    Relator incorporates herein by reference the preceding paragraphs of this

Complaint as though fully set forth herein.

       112.    Defendants, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, one or more false records or statements material to an

obligation to pay or transmit money or property to the government, or knowingly concealed or



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knowingly and improperly avoided or decreased an obligation to pay or transmit money or

property to the government, in violation of31 U.S.C. § 3729(a)(1)(G).

        113.   In particular, Defendants knowingly and/or recklessly filed reports with the SBA

containing false certifications of truthfulness and of compliance with SBA regulations, in

violation of the Small Business Investment Act, 15 U.S.C. §§ 687(h) and 687a, and of SBA

regulations including 13 C.F.R. §§ 107.507; and knowingly and/or recklessly failed to disclose to

the SBA that they were engaging in prohibited self-dealing transactions in violation of the SBIA,

15 U.S.C. §§ 687 et seq., and of applicable SBA regulations, including 13 C.F.R. § 107.730.

These false statements and material omissions were material to the SBA 's decisions to approve

the transactions in question, and, on information and belief, had it known the true facts about the

insider nature of these transactions, the SBA would not have approved them.           Defendants'

purpose in making these false statements and omissions was to enrich themselves by promoting

the interests of their private investments in the Greentree portfolio holdings at the expense of

Greentree's own interests, thereby improperly avoiding or decreasing theirs and Greentree's

obligation to repay the money invested by the SBA, in violation of31 U.S.C. § 3729(a)(l)(G).

       114.    Defendants also knowingly concealed from the SBA the facts relating to the

insider nature of the March 2010 transaction by which they acquired majority control of STOP at

Greentree's expense. Specifically, despite being advised by Relator Cowan of their obligation to

disclose and seek approval from the SBA on each of these points, Defendants knowingly and

willfully failed to disclose to the SBA the insider relationships between the participants, the

change in corporate control that would result from the transaction, the interest rate that exceeded

the SBA's maximum allowable rate, and the failure of Greentree to meet the "safe harbor"



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requirement by investing on the same terms as the other participants and in the same relative

proportion as in its original investment, in violation of 15 U.S.C. §§ 687 et seq. and 13 C.P.R. §§

107.730, 107.855. These facts were material because, on information and belief, the SBA would

not have approved the STOP transaction had it been aware of them. Defendants' purpose in

concealing these facts from the SBA, on information and belief, was to take over majority

control of STOP, Greentree's only successful portfolio company, and transfer a larger share of its

equity from the SBIC to their own private investment vehicles, thereby improperly avoiding or

decreasing theirs and Greentree's obligation to use any profits or proceeds gained from STOP to

repay the money invested in STOP and in Greentree by the SBA, in violation of 31 U.S.C. §

3729(a)(l)(G).

       115.      Defendants also knowingly manipulated the receivership process and made false

and misleading statements to the SBA's Receiver regarding the valuation and marketability of

STOP, by presenting a skewed appraisal report with an artificially low valuation, and by falsely

advising the Receiver that conducting a due diligence process to identify other potential buyers

would be harmful to STOP's value.        These false and misleading statements were material

because they influenced the Receiver, an agent of the United States government, to approve the

sale of Greentree's interest in STOP at a fraction of its market value, without making any effort

to solicit bids from other potential buyers. On information and belief, Defendants' purpose in

making these false and misleading statements was to remove STOP entirely from Greentree and

its obligations as an SBIC, so that they could turn it around and re-sell STOP privately without

having to share any of the proceeds with the SBA, thereby improperly avoiding or reducing




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theirs and Greentree's obligations to repay the money invested by the SBA in Greentree and in

STOP, in violation of31 U.S.C. § 3729(a)(l)(G).

            116.   Defendants also knowingly concealed from the SBA the terms of their December

2013 sale of STOP to Securus, and the considerable amount of profit they realized from that sale,

thereby improperly avoiding theirs and Greentree's obligations to repay the money invested by

the SBA in Greentree and in STOP, in violation of 31 U.S.C. § 3729(a)(1)(G).

            117.   As a result of the conduct set forth in this cause of action, the U.S. Government,

through its agency the Small Business Administration, has suffered harm as a result of

Defendants' concealment of their self-dealing transactions which, had the Government known

the insider nature of those transactions, the Government would not otherwise have approved

and/or allowed.

            118.   By reason ofthe Defendants' acts in violation ofthe False Claims Act, the United

States has been damaged, and continues to be damaged, in substantial amount to be determined

at trial.

VIII. COUNT 2 (VIOLATION OF FALSE CLAIMS ACT, 31 U.S.C. § 3729(A)(l)(C))

            119.   Relator incorporates herein by reference the preceding paragraphs of this

Complaint as though fully set forth herein.

            120.   As detailed above, Defendants knowingly conspired with each other to commit

acts in violation of 31 U.S.C., §§ 3729(a)(l)(G). Defendants committed overt acts in furtherance

of the conspiracy as described above.

            121.   As a result of the conduct set forth in this cause of action, the U.S. Government,

through its agency the Small Business Administration, has suffered harm as a result of




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Defendants' concealment of their self-dealing transactions which, had the Government known

the insider nature of those transactions, the Government would not otherwise have approved

and/or allowed.

            122.   By reason ofthe Defendants' acts in violation of the False Claims Act, the United

States has been damaged, and continues to be damaged, in substantial amount to be determined

at trial.

IX.         PRAYER FOR RELIEF

            WHEREFORE, Relator respectfully requests this Court to enter judgment against

Defendants, as follows:

            a.     That judgment be entered in favor of Relator and of the United States and against

Defendants in the amount of three times the actual losses to the Small Business Administration

on its investments in Greentree, STOP, and Greentree's other portfolio holdings resulting from

Defendants' violations of the Small Business Investment Act, SBA regulations, and the False

Claims Act, in an amount to be proven at trial, pursuant to 31 U.S.C. § 3729(a)(l);

            b.     That judgment be entered in favor of Relator and of the United States and against

Defendants for civil penalties of not less than five thousand five hundred dollars ($5,500) or

more than eleven thousand dollars ($11 ,000) for each and every specific false or fraudulent claim

or certification, false statement, or material omission made by Defendants, as may be identified

at trial after full discovery, as provided for in 31 U.S.C. § 3729(a);

            c.     That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C. §

3730(d), including reasonable attorneys' fees and litigation costs;




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           d.     That judgment be granted for Relator and against Defendants for all costs,

including, but not limited to, court costs, expert fees and all attorneys' fees incurred by Relator in

the prosecution of this suit; and

           e.     That Relator be granted such other and further relief as the Court deems just and

proper.

X.         DEMAND FOR JURY TRIAL

           Relator, on behalf of himself and the United States, demands a jury trial on all issues so

triable.




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Dated: October 22, 2014                      ST. ONGE STEWARD JOHNSTON &



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